      Case 1-25-41368-jmm              Doc 74       Filed 06/10/25     Entered 06/10/25 16:14:07




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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IN RE                                                                Chapter 11

        AVON PLACE LLC,                                              Case No. 25-41368 (JMM)


                                    Debtor.
--------------------------------------------------------x
AVON PLACE LLC,

                                   Plaintiff,

                 v.                                                  Adv. Proc. 25-            (   )

44 AVONWOOD ROAD CREDIT LLC,

                                    Defendant.
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                                                     COMPLAINT

        Plaintiff, Avon Place LLC, the debtor and debtor-in-possession in the above-captioned

Chapter 11 case (“Debtor”), by way of complaint against defendant, 44 Avonwood Road Credit

LLC (“Avonwood Credit”), alleges and states as follows:

                                                THE PARTIES

        1.       The Debtor is a Connecticut limited liability company formed in 2022 that

maintains a principal place of business at 710 Avenue L, Brooklyn, New York 11230. The Debtor

filed a voluntary petition for relief under Chapter 11 on March 21, 2025.

        2.       Upon information belief, Avonwood Credit is a Delaware limited liability company

formed on or around January 29, 2025, that maintains a principal place of business at 200

Pemberwick Road, Greenwich, Connecticut 06831.

        3.       Upon further information and belief, Avonwood Credit’s member is 44 Avonwood

Road JV LLC, which maintains the same principal place of business. Upon further information
     Case 1-25-41368-jmm          Doc 74     Filed 06/10/25     Entered 06/10/25 16:14:07




and belief, Avonwood Credit’s ultimate principal is Kyle O’Hehir, who is a vocal social media

personality. Avonwood Credit’s business email address is listed with the Secretary of State of

Connecticut as kyle@constitutionmgmt.com.

       4.      Mr. Rudich, the non-debtor, is an individual currently residing in Brooklyn, New

York. Mr. Rudich is the Debtor’s sole member and its manager. He is also the guarantor of certain

loans made by Bankwell Bank to the Debtor that are at issue in both the underlying bankruptcy

action and a pending Connecticut state court action.

                                 JURISDICTION AND VENUE

       5.      This Court has jurisdiction over this adversary proceeding pursuant to 28 U.S.C. §

1334, as this matter is related to a Chapter 11 proceeding. In addition, this matter involves matters

concerning the effective and efficient administration of a bankruptcy estate and the modification

(via extension) of an automatic stay. 28 U.S.C. § 157(b)(2)(A), (G), & (O).

       6.      Venue is proper as in this Judicial District under 28 U.S.C. § 1408.

       7.      Personal jurisdiction can be properly exercised by this Court over Avonwood Credit

as it has already consented to this Court’s authority by filing motions in the underlying bankruptcy

proceeding. The Debtor consents to the jurisdiction of this Court, as does Mr. Rudich.

                                  FACTUAL ALLEGATIONS

       8.      The Debtor acquired one hundred and eighty (180) condominium units at the

property known as Avon Place Condominiums and located at 44, 46, 47, and 48 Avonwood Road,

Avon, Connecticut 06001, which is about 96% of the units in the building complex (the units

owned by the Debtor shall hereinafter be referred to as the “Property”).

       9.      Sixty-two (62) units are located at 44, 47, and 48 Avon Road, and forty-six (46)

units at 46 Avon Road. One hundred and sixty-two (162) units were purchased in or around




                                                 2
     Case 1-25-41368-jmm          Doc 74     Filed 06/10/25    Entered 06/10/25 16:14:07




September/October 2022 for $33,750,000, and the additional sixteen (16) units were purchased

from individual sellers sporadically since then for the collective sum of $2,709,500.

       10.     In September 2022, the Debtor entered into two loans totaling about $28 million,

which were originally issued by Bankwell Bank and are secured by the Properties and limited

personal guarantees executed by Mr. Rudich (hereinafter, the “Loans”).

       11.     The documents memorializing, evidencing, and/or securing the Loans include: (i)

a Promissory Noted dated September 30, 2022 in the principal amount of $25,312,500; (ii) a Non-

Revolving Line of Credit Note dated October 21, 2022 in the principal amount of $2,687,500; (iii)

two Limited Guaranty and Indemnification Agreements dated September 30, 2022 and October

21, 2022 (both of which were executed by Mr. Rudich); and (iv) two mortgages (collectively, the

“Loan Documents”).

       12.     The Properties suffered fire damage in one of the buildings and certain units. The

Debtor received an insurance payment of $474,735.89, which was endorsed over to the original

lender (i.e., Bankwell Bank) for debt service. Bankwell Bank deposited the funds and confirmed

to the Debtor that the funds were being applied to the outstanding indebtedness.

       13.     The Loans were always, and have always been, in good standing. In fact, in June

2024, Bankwell Bank confirmed that payments due under the loan documents memorializing and

evidencing the Loans were current.

       14.     On January 30, 2025, Bankwell Bank allegedly executed an Assignment of

Mortgages and Other Instruments to Avonwood Credit, which was recorded in the Avon Land

Records on February 3, 2025. While the assignment appears to have been properly executed, the

timing of this transaction raises serious concerns.




                                                 3
     Case 1-25-41368-jmm         Doc 74     Filed 06/10/25     Entered 06/10/25 16:14:07




       15.     The suspicious sequence of events is telling: (i) the Debtor’s property suffers fire

damage; (ii) the Debtor receives and endorses an insurance payment of over $400,000 to Bankwell

Bank; (iii) immediately thereafter, Avonwood Credit acquires the Loans; and (iv) without

providing any notice to the Debtor of the assignment or any default notice, Avonwood Credit

commences a foreclosure action in Connecticut state court demanding the appointment of a

receiver, payment in full, and a deficiency judgment.

       16.     This timing strongly suggests that Avonwood Credit acquired the Loans with the

specific intent to manufacture a default by misapplying the insurance payment and immediately

pursuing foreclosure, consistent with its business model.

       17.     The Debtor’s investigation into the background of Kyle O’Hehir, Avonwood

Credit’s principal, revealed that Mr. O’Hehir is a real estate investor who built a business model

focused on acquiring distressed loans at a discount and aggressively enforcing technical defaults

to maximize returns.

       18.     In a publicly available recorded interview, Mr. O’Hehir described his business

approach as capitalizing on “technical defaults” given the “reluctance of traditional banks to take

a hard line with borrowers.” According to Mr. O’Hehir, there is money to be made by taking

advantage of technical defaults as “banks don’t want to be mean to the borrower.”

       19.     In other words, by rejecting lender standards of good faith and fair dealing, Mr.

O’Hehir boasted that “there’s an opportunity in the market for a bad guy.” When it comes to

dealing with mortgagors, Mr. O’Hehir unabashedly markets himself as that “bad guy.”

       20.     This evidence provides critical context for understanding Avonwood Credit’s

actions in this case, particularly its apparent misapplication of the insurance payment to




                                                4
     Case 1-25-41368-jmm          Doc 74     Filed 06/10/25     Entered 06/10/25 16:14:07




manufacture a default immediately after acquiring the Loans, its prosecution of a state court action

against Mr. Rudich, and its interactions with the tenants at the Property.

       21.     Indeed, as aforesaid, before even notifying the Debtor of the assignment, let alone

giving a default notice, on February 27, 2025, Avonwood Credit commenced a foreclosure and

deficiency action in the Connecticut Superior Court at Hartford that remains pending under the

caption 44 Avonwood Road Credit LLC v. Avon Place LLC, et al., Docket No. HHD-CV25-

6199961-S (the “Guaranty Action”).

       22.     In the Guaranty Action, Avonwood Credit filed a motion seeking prejudgment

attachment on Mr. Rudich’s assets, a matter of significant personal importance to Mr. Rudich and

one that demands, like the foregoing motion, his time and attention. An evidentiary hearing on

that motion has been scheduled for August 6, 2025, and Mr. Rudich’s opposition to same is due

on or before June 30, 2025.

       23.     Avonwood Credit also filed a motion for partial summary judgment that seeks a

judgment declaring and adjudging Mr. Rudich liable for a deficiency judgment under the terms of

the Loan Documents, which is due to be opposed on June 18, 2025.

       24.     These motions, and the Guaranty Action in general, directly impairs the Debtor’s

reorganization and plan confirmation efforts.

       25.     As detailed in the Debtor’s April 4, 2025 Disclosure Statement and Plan of

Reorganization (the “Plan”), the Plan proposes to pay all creditors in full on the Effective Date

through a combination of refinancing proceeds and capital contributions by equity holders.

       26.     More specifically, the Debtor’s Plan is structured to maximize creditor recoveries

through a two-step process. First, the Debtor will seek to reinstate its senior secured debt under

Section 1124 of the Bankruptcy Code by curing defaults and restoring the Loans to their original




                                                 5
     Case 1-25-41368-jmm          Doc 74     Filed 06/10/25      Entered 06/10/25 16:14:07




terms, potentially avoiding a large payment of default interest that could be used to pay other

creditors, following which the Debtor intends to pay all creditors in full, with interest.

       27.     Litigation against Mr. Rudich, including prejudgment attachment efforts, threatens

both phases of this strategy by impairing Mr. Rudich’s ability to fund reinstatement and by

destabilizing his ability to support sale efforts or to support post-reinstatement refinancing (which

may require a personal guarantee).

       28.     At present, Mr. Rudich is negotiating a letter of intent for plan financing from

Trevian Capital for a $31.3 million loan. The Guaranty Action is not only unnecessary, it may

obstruct the Debtor’s plan.

       29.     Furthermore, the pending motions will require the state court to consider factual

and legal findings concerning the Loan Documents that will, if Avonwood Credit’s position is

found to be compelling, prejudicially impact the Debtor’s rights and defenses to the claims asserted

in the Guaranty Action, including, but not limited to, defenses contesting the existence of any

default and Avonwood Credit’s standing, among others.

       30.     This leaves the Debtor in the unenviable position of either disavowing the

“breathing room” accorded to it by the automatic stay or hoping its rights remain unimpaired by

the progression of the Guaranty Action simultaneously with its reorganizational efforts.

       31.     Avonwood Credit also seeks discovery related to the Debtor and its operations,

through requests to admit and document demands, that could later be used against the Debtor.

Avonwood Credit has not withdrawn these discovery demands despite the fact that a bankruptcy

was commenced and the demands directly implicate the Debtor.




                                                  6
     Case 1-25-41368-jmm           Doc 74     Filed 06/10/25      Entered 06/10/25 16:14:07




        32.     In fact, Mr. Rudich responded to the requests to admit by asserting objections to

any request pertaining to the Debtor based on the automatic stay, which Avonwood Credit is

challenging.

        33.     In a phone call to counsel in the Guaranty Action, Avonwood Credit’s state court

counsel advised that Avonwood Credit intends to proceed against Mr. Rudich regardless of the

Debtor’s pending Chapter 11 proceeding.

        34.     Indeed, consistent with its “bad guy” business model, Avonwood Credit rejects any

request for an extension to respond. Similarly, Avonwood Credit has continued to pursue

discovery against Bankwell post-petition without notice to the Debtor or stay relief.

                                 FIRST COUNT
               INJUNCTIVE RELIEF UNDER SECTION §§ 105(a) and 362(a)

        35.     The Debtor repeats and realleges the allegations contained in the preceding

paragraphs as if stated fully herein.

        36.     The filing of a bankruptcy petition “operates as a stay, applicable to all entities, of

– (1) the commencement or continuation[] . . . of a judicial, administrative, or other action or

proceeding against the debtor that was or could have been commenced before the commencement

of the case under this title, or to recover a claim against the debtor that arose before the

commencement of the case under[]” the Bankruptcy Code. 11 U.S.C. § 362(a)(1).

        37.     This stay also applies to:

                (3) any act to obtain possession of property of the estate or of property from
                the estate or to exercise control over property of the estate; (4) any act to
                create, perfect, or enforce any lien against property of the estate; (5) any act
                to create, perfect, or enforce against property of the debtor any lien to the
                extent that such lien secures a claim that arose before the commencement
                of the case under this title; (6) any act to collect, assess, or recover a claim
                against the debtor that arose before the commencement of the case under
                this title.

Id. at § 362(a)(3)-(6).


                                                   7
      Case 1-25-41368-jmm           Doc 74      Filed 06/10/25      Entered 06/10/25 16:14:07




        38.     Under 11 U.S.C. § 105(a), a court “may issue any order, process, or judgment that

is necessary or appropriate to carry out the provisions of this title.” Id.

        39.     This ability and authority to order necessary relief includes, without limitation, the

authority to issue injunctions. Courts in the Second Circuit routinely extend the stay to non-debtor

third parties when litigation would interfere with estate administration or frustrate the

reorganization process. See Queenie, Ltd. v. Nygard Int’l, 321 F.3d 282, 287 (2d Cir. 2003); In re

Calpine Corp., 365 B.R. 401 (S.D.N.Y. 2007).

        40.     The Guaranty Action is based on the same operative facts as the Debtor’s

bankruptcy, is being used to pressure estate insiders and affect the reorganization process, and will

subject the Debtor to a risk that collateral estoppel will operate as a bar to its litigation of key facts,

issues, and evidence.

        41.     Furthermore, if allowed to proceed, the Guaranty Action would: (a) divert a key

stakeholder from critical funding and reorganization tasks; (b) create a risk of issue preclusion in

future bankruptcy proceedings; (c) undermine the protections afforded by the automatic stay; and

(d) deprive the estate of its only viable source of plan funding through prejudgment attachment.

        42.     The harm to Avonwood Credit by the issuance of any injunction is non-existent

and, even if it does exist, is outweighed by the harm to the Debtor in the absence of any injunction.

        43.     As aforesaid, the Debtor will be irreparably harmed and its ability to reorganize

and/or defend against Avonwood Credit’s claims compromised.

        44.     In contrast, enjoining the Guaranty Action will not diminish any potential recovery

Avonwood Credit could obtain (notwithstanding the fact it is not entitled to any judgment or

recovery). It likewise serves the public’s interest.




                                                    8
     Case 1-25-41368-jmm          Doc 74     Filed 06/10/25      Entered 06/10/25 16:14:07




       45.     For the same reasons, the Debtor is entitled to a temporary restraining order,

without the presentment of any security, enjoining Avonwood Credit’s pursuit of the Guaranty

Action as against Mr. Rudich while any preliminary injunction application is pending.

                           SECOND COUNT
      PRELIMINARY INJUNCTIVE RELIEF UNDER BANKRUPTCY RULE 7065

       46.     The Debtor repeats and realleges the allegations contained in the preceding

paragraphs as if stated fully herein.

       47.     To obtain a preliminary injunction under Rule 65 (as incorporated by Bankruptcy

Rule 7065), a debtor must demonstrate: (a) likelihood of success on the merits; (b) irreparable

harm absent relief; (c) balance of hardships favoring the movant; and (d) public interest is not

disserved.

       48.     The Debtor is likely to succeed in showing that the Guaranty Action materially

interferes with the bankruptcy case and violates or circumvents the automatic stay under Sections

362(a)(1) and (3).

       49.     The Debtor’s Plan is feasible, as shown in its projections and liquidation analysis,

but is contingent on equity contributions that are currently at risk due to the Guaranty Action.

       50.     Second Circuit precedent supports injunctive relief in these circumstances. See,

e.g., Queenie, 321 F.3d at 287.

       51.     Without injunctive relief, the Guaranty Action will impair the Debtor’s ability to

confirm the Plan.

       52.     The Plan reflects that Mr. Rudich’s financial participation is critical to satisfying

all claims in full. Subjecting him to a parallel multi-million dollar litigation while plan funding is

being finalized would jeopardize the Debtor’s reorganization and irreparably harm the estate.




                                                  9
     Case 1-25-41368-jmm          Doc 74     Filed 06/10/25      Entered 06/10/25 16:14:07




       53.      The threat of prejudgment attachment magnifies this harm: even before judgment

is entered, Mr. Rudich’s ability to raise or contribute capital could be frozen. He may be unable

to refinance, pledge assets, or serve as a financial backstop, precisely when the Debtor is finalizing

plan funding.

       54.      These impacts are not hypothetical—they go to the heart of the Debtor’s ability to

reorganize, satisfy creditors in full, and preserve going-concern value.

       55.      The balance of hardships tips sharply in the Debtor’s favor. Avonwood Credit is

will not be harmed by a stay while temporarily staying litigation against Mr. Rudich on any

deficiency is narrowly tailored to merely preserve the status quo.

       56.      The public interest strongly favors the integrity of the bankruptcy process and

ensuring the Debtor has a fair opportunity to reorganize.

       WHEREFORE, the Debtor requests the entry of an Order:

                (a)    Issuing a temporary restraining order and preliminary injunction enjoining:

(i) the Guaranty Action as against Mr. Rudich; and (ii) Avonwood Credit from taking any further

action in the Guaranty Action or filing any further claims against Mr. Rudich based on or

connected to the Loans or the Properties for the duration of the Chapter 11 case or as otherwise

appropriate;

                (b)    Extending the automatic stay under 11 U.S.C. § 362(a) to any actions as

against Mr. Rudich, including, without limitation, any commenced by Avonwood Credit; and




                                                 10
     Case 1-25-41368-jmm    Doc 74    Filed 06/10/25    Entered 06/10/25 16:14:07




            (c)   Granting any such other or further relief as this Court may deem just and

proper.

Dated: New York, New York
       June 10, 2025


                                BACKENROTH FRANKEL & KRINSKY, LLP
                                Attorneys for the Debtor


                                By:    s/Mark Frankel
                                       488 Madison Avenue
                                       New York, New York 10022
                                       (212) 593-1100




                                          11
